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U.S. v. Washmgton Felorty Aduit Defendant Other

 

 

 

ll. Ol"FENSE(S} CllARCED (Cite U.S. Codc, Tille & S€Ction) It' more than one offense, list (up to l'\v£') tnajor olTenses charged. according to severityr§l§ase. , ` a “ ,
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12. ATTORNEY'S .\'AME rim rome n.r., mtNam¢,'.nmman¢a“ysumx> 13. count oRoER ll»"[} Oi TN, l'i;l
ANI) MA“.\NC ADDR[‘L,SS 3 0 Appuim.mg Cmmsel L-j C Co_Cmmse] ' h VEPH|S
QUINN, ARTHUR E. ij F Sllbs For FederalDefender § ll ths For Retainetl Atturney
SUITE 300 E P Suhs For PanelAttorne'y \:i Y Stand`oy (_`ounsel
1661 INTNL. PL.DRIVE Pr'-u~womy's wm
MEMPHIS TN 33120 APP\J'\H!"=€“! Dalv=

ll H»ecause the above-named person represented has testified under oath or has
otherwise satisfied this court that he or she {l) is financially unable to employ counsel and

|',_,|ephone Numbc`¢: {1] does not wish tu waive counsel, and because the interests ofjnstice so require, the

 

attorney whose narne appears in Item lis appu' yed to represent this person in this case,
7 !

or '@ (
ij Otw tatum

jEmuur ol` Pt'esidirtg .ludir.inl Oi'l'lcer or By Urder of the Court

l4. .\iAM F. AND MA]LlNG ADDRESS UF LAW FIRM(nn|y provide per instructions)

 

 

OR/?A/Uti(ii
‘~r Me of Order Nunc Pro Tllnc Date
yment or partial repayment ordered from the person represented fur this service al
time of appointmen|. m YF.S i:l

 

 

  

  
  
 
 
  
  
 
  
 
 
 
 
 
  
 
      

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CATEGORIES (Attaeh itemization of services with dates)

 

15. a. Arraignment and/or Plea

 

 

 

b. Bail and Defention Hearings

 

 

 

 

 

 

c. Motion Hearings
d. Tt'ial

C e. Sentcneing liearings

 

 

 

 

 

 

 

 

 

 

 

F_

 

f. Revocation Hearings

 

 

 

g. Appeals Courl

 

h. Other (Specil`y on additional sheets)

 

 

(Rate per hour = $ ) TO'I`ALS'.

 

 

a. lnterviews and Conferenees

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b. Obtaining and reviewing records

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c. L.egal research and brief writing

 

 

d. Travel time

 

 

 

 

 

 

 

 

 

 

e. investigative and Otlter work tSpecify on additional sheech

 

 

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(Rate per hour : $ ) TOTALS:

 

l‘i'. Travel Expenses (lodging, parking, meals, mileage, etc.)

 

 

 

 

 

 

Olller EX]JCnSeS (other than expert, transcripts, e|c.)

 

 

 

    
  

 

 

  

 

 

 

 

 

 

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]9. CER']`]FICATION OF /\TTORNEYIPAYEE FOR THE PER[()D OF SERV|CE 1[]. APPO|NTMENT TERM!NAT|ON D»\TE Zl. CASE l)lSl’OSlTlON
IF OTHER Tl‘l.AN CASE COMPLETION
FROM TO

22. CLAlM STATUS ll Finai l’ayment ij lnterim l'ayment Numher j l:] Supp|on\ental Payment

Have you previously applied In the court for compensation and/or remimhursemeltt for this ease'.’ Ll YES L._j 5\'0 ll`yos, were you paid'.’ ij YES l:' N[)

Other than front the court, have yon, ur to your knowledge has anyone else, received payment (t:ornpensat'ton or anything or va|ut=) from any other source in connection with this

representation? ij YES E NO if yes, give details on additional sheets.

1 swear or affirm the truth or correctness of the above statements.

 

Signature of lotttorm.'y:

 

  
  
 

 

      
     

 

 

 

 

 

 

 

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ISTRICT COURT - WESERT DISTRICT TNNESSEE

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Stephcn P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lcmphis7 TN 38103

Arthur E. Quinn

THE BOGATIN LAW FIRM
1661 Intcrnational Place Dr.
Ste. 300

1\/lcmphis7 TN 38120

Honorablc J on McCalla
US DISTRICT COURT

